     Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 1 of 111 Page ID #:412




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 8
     Attorneys for UNITE HERE Local 11

 9
10                         UNITED STATES DISTRICT COURT
11                       CENTRAL DISTRICT OF CALIFORNIA
12      HOST INTERNATIONAL, INC.,                 Case No.: 19-cv-1568
13
                         Petitioner,              [Assigned For All Purposes to Honorable
14                 vs.                            Magistrate Judge Suzanne H. Segal]
15
        UNITE HERE Local 11,                   DECLARATION OF KRISTIN L.
16                                             MARTIN IN SUPPORT OF MOTION
17                       Respondent.           TO CONFIRM ARBITRATION
                                               AWARD AND IN OPPOSITION TO
18
                                               PETITIONER HOST
19                                             INTERNATIONAL, INC.’S MOTION
20                                             TO VACATE

21      UNITE HERE Local 11,                   Date:        April 23, 2019
22                                             Time:        10:00 a.m.
                         Counterclaimant,      Dept.:       Courtroom 590
23                 vs.                         Petition Filed: March 4, 2019
24
25
        HOST INTERNATIONAL, INC.,

26                       Counterdefendant.
27
28

                                              1
     DECLARATION OF KRISTIN L. MARTIN                                Case No.: 19-cv-1568
     Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 2 of 111 Page ID #:413




 1         I, Kristin L. Martin, declare:
 2         1. I am a partner with the law firm of McCracken, Stemerman & Holsberry, LLP.
 3   I am counsel for Respondent and Counterclaimant UNITE HERE Local 11 (“Local 11”)
 4   in this matter. I have personal knowledge of the following facts and if called as a
 5   witness, could and would testify competently thereto.
 6         2. I represented Local 11 in the arbitration proceeding between Local 11 and Host
 7   that resulted in the arbitration award is the subject of this case.
 8         3. Larry Stone and Stephen Zimmerman are counsel for Petitioner Host
 9   International, Inc. (“Host”) in this matter. My understanding is that Mr. Stone is Host’s
10   lead counsel, and that Mr. Zimmerman is his associate.
11         4. Host’s Notice of Motion and Motion to Vacate the Arbitration Award states
12   that counsel conferred on February 9, 2019 and March 1, 2019. That is false. Until this
13   case was filed, I was Local 11’s sole counsel in this matter, and I did not speak with Mr.
14   Stone or Mr. Zimmerman or any other counsel for Host on either of those dates about
15   the substance of Host’s motion. The first time I spoke with either of them after the
16   arbitration award was issued was on March 12, 2019 when I spoke with Mr. Stone.
17         5. On March 12, 2019, I spoke with Mr. Stone by telephone about the petition and
18   motion to vacate the arbitration award that Host filed on March 4 and 5, 2019. I
19   informed Mr. Stone that I intended to oppose the motion to vacate and file a
20   counterclaim and motion to confirm the arbitration award. We dismissed the substance
21   of Host’s motion and of Local 11’s contemplated claim and motion which are related,
22   and potential resolution of both, but did not resolve the matter.
23         6. Local 11 and Host selected Arbitrator Guy Prihar (the “Arbitrator”) to arbitrate
24   the Grievance from a list of arbitrators suggested by Mr. Stone.
25         7. Local 11 and Host held five days of hearing before the Arbitrator between
26   February 27, 2018 and August 24, 2018, inclusive, at which each was represented by
27   counsel and presented evidence. After the hearing ended, Mr. Stone and I each
28   submitted briefs.

                                                    2
     DECLARATION OF KRISTIN L. MARTIN                                      Case No.: 19-cv-1568
     Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 3 of 111 Page ID #:414




 1         8. At the first day of the hearing, Mr. Stone and I, as counsel for Host and Local
 2   11 respectively, each identified the issues that our clients wanted the Arbitrator to decide
 3   and stipulated to give the Arbitrator authority to frame the issues for his decision. True
 4   and correct copies of the relevant pages of the hearing transcript are attached hereto as
 5   Exhibit 1.
 6         9. Local 11 asked the Arbitrator to decide the following issues:
 7                Did the Employer violate Article 2 of the Collective Bargaining
 8                Agreement by failing to provide, assist in the completion of, and/ or
                  remit union membership applications and dues deduction
 9                authorizations to the Union? If so, what is the appropriate remedy?
10
                  Did the Employer violate Article 2 of the Collective Bargaining
11                Agreement by failing to deduct union initiation fees and/or monthly
12                dues from employees’ earnings? If so, what is the appropriate
                  remedy?
13
14         In its post-hearing brief to the Arbitrator, Local 11 addressed these issues
15   and the issues identified by Host. A true and correct copy of Local 11’s post-
16   hearing brief with the names of Host employees redacted to protect their privacy
17   is attached hereto as Exhibit 2. It is also attached as Exhibit C to Local 11’s
18   Answer and Counterclaim filed in this matter (ECF Doc. No. 12).
19         10. Host asked the Arbitrator to decide the following issues:
20                Is the language of Article 2.12 unlawful?
21                Was the Collective Bargaining Agreement violated with respect to
22                the failure to deduct dues and initiation fees for the employees who
                  did not sign an authorization form?
23
24                Does the Collective Bargaining Agreement require the Employer to
                  make sure that the employer authorization form is executed by the
25
                  employees and sent to the Union?
26
27         In its post-hearing brief to the Arbitrator, Host addressed these issues and
28   the issues raised by Local 11. A true and correct copy of Host’s post-hearing brief

                                                  3
     DECLARATION OF KRISTIN L. MARTIN                                     Case No.: 19-cv-1568
     Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 4 of 111 Page ID #:415




 1   with the names of Host employees redacted to protect their privacy is attached
 2   hereto as Exhibit 3. It is also attached as Exhibit D to Local 11’s Answer and
 3   Counterclaim filed in this matter (ECF Doc. No. 12).
 4          11. On or about December 26, 2018, I caused a letter to be sent by email to Larry
 5   Stone, counsel for Host. A true and correct copy of that letter is attached hereto as
 6   Exhibit 4. It is also attached as Exhibit E to Local 11’s Answer and Counterclaim filed
 7   in this matter (ECF Doc. No. 12). Host’s counsel did not respond to that letter.
 8         12. On or about January 18, 2019, I caused a letter to be sent by email to the
 9   Arbitrator and Mr. Stone. A true and correct copy of that letter is attached hereto as
10   Exhibit 5. It is also attached as Exhibit F to Local 11’s Answer and Counterclaim filed
11   in this matter (ECF Doc. No. 12). On or about January 22, 2019, the Arbitrator sent an
12   email to me and to Mr. Stone in which he asked Mr. Stone if he would like to respond.
13         13. On or about January 28 and 29, 2019, Mr. Stone and Mr. Zimmerman caused
14   a letter to be sent by email to the Arbitrator and me respectively. A true and correct copy
15   of that letter is attached hereto as Exhibit 6. It is also attached as Exhibit G to Local
16   11’s Answer and Counterclaim filed in this matter (ECF Doc. No. 12). On or about
17   February 4, 2019, the Arbitrator responded by email to Mr. Stone, Mr. Zimmerman and
18   me and notified us that “the Award stands as issued.”
19         14. Host has not complied with the remedy that the Arbitrator ordered in the
20   Award.
21         I declare under the penalty of perjury of the laws of the United States that this
22   declaration is true and correct. This declaration was signed by me on this 25th day of
23   March 2019 at San Francisco, California.
24
25
26                                              KRISTIN L. MARTIN
27
28

                                                   4
     DECLARATION OF KRISTIN L. MARTIN                                      Case No.: 19-cv-1568
     Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 5 of 111 Page ID #:416




 1                          PROOF OF SERVICE
          STATE OF CALIFORNIA, CITY AND COUNTY OF SAN FRANCISCO
 2
 3          I am employed in the city and county of San Francisco, State of California. I am
     over the age of eighteen years and not a party to the within action; my business address
 4
     is: 595 Market Street, Suite 800, San Francisco, California 94105.
 5
 6         On March 25, 2019 I served a copy of the following document(s) described as:

 7        RESPONDENT-COUNTERCLAIMANT UNITE HERE LOCAL 11’S
 8       MEMORANDUM OF LAW IN SUPPORT OF MOTION TO CONFIRM
        ARBITRATION AWARD AND IN OPPOSITION TO PETITIONER HOST
 9              INTERNATIONAL, INC.’S MOTION TO VACATE
10
     on the interested party(ies) to this action as follows:
11
12   By ECF System - Court’s Notice of Electronic Filing:
13
           Steven M Zimmerman
14         Lawrence H Stone
15         Jackson Lewis LLP
           725 South Figueroa Street Suite 2500
16
           Los Angeles, CA 90017-5408
17         213-689-0404
18         Fax: 213-689-0430
           Email: steve.zimmerman@jacksonlewis.com
19                stonel@jacksonlewis.com
20
           Attorneys for Host International, Inc.
21
22
23
           I declare under penalty of perjury under the laws of the State of California that the
     foregoing is true and correct.
24
25         Executed on this 25th day of March, 2019 at San Francisco, California.
26
27                                                  ______________________________
                                                            Katherine Maddux
28

                                                    5
     PROOF OF SERVICE                                                    Case No.: 19-cv-1568
Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 6 of 111 Page ID #:417




                             Exhibit 1




                                                                    Exhibit 1
                                                                         1-6
Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 7 of 111 Page ID #:418

                                  Transcript of Proceedings
                                      February 27, 2018

     · · · · · · · · · · · ARBITRATION PROCEEDING

     · · · · · · · · · · ·BEFORE ARBITRATOR PRIHAR

     ·

     ·   · ·In The Matter Of Arbitration
     ·   · ·Between
     ·
     ·   · ·UNITE HERE LOCAL 11
     ·
     ·   · · · · and
     ·
     ·   · ·HOST INTERNATIONAL, INC.
     ·   · ·(LAX Union Dues)
     ·   · ·_________________________________
     ·

     ·

     ·

     · · · · · · · · · · ·TRANSCRIPT OF PROCEEDINGS

     · · · · · · · · · · · · February 27, 2018

     · · · · · · · · · · · · · · 9:32 a.m.

     · · · · · · · ·725 South Figueroa Street, Suite 2500

     · · · · · · · · · · ·Los Angeles, California

     ·

     ·

     ·

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     ·

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     · · ·REPORTED BY:
     · · ·BRANDI CELESTINO
     · · ·CSR NO. 13640


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                                                                     Exhibit 1
                                                                          1-7
Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 8 of 111 Page ID #:419

                                Transcript of Proceedings
                                    February 27, 2018

     ·1· · · · · · Joint Exhibit 4 is the 2012/2015 collective

     ·2· ·bargaining agreement between the parties.

     ·3· · · · · · Joint Exhibit 5 is a prior agreement between the
                                       Transcript of Proceedings
                                           February 27, 2018
     ·4· ·parties regarding furnishing the various evidentiary

     ·5· ·materials.

     ·6· · · · · · MS. MARTIN:· I'll point out that this document

     ·7· ·is two-sided.

     ·8· · · · · · ARBITRATOR PRIHAR:· Thank you.· It's a two-sided

     ·9· ·document.· It looks like it was dated October 26, 2017.

     10· · · · · · Those are joint exhibits and received into

     11· ·evidence.

     12· · · · · · The parties have not stipulated to the issues --

     13· ·I'm going to let them frame those issues in just a

     14· ·moment -- however, they have stipulated to my authority

     15· ·to frame the ultimate issues in this case after the case

     16· ·is concluded and the briefs are submitted.

     17· · · · · · The parties have stipulated to my authority to

     18· ·retain jurisdiction regarding the remedy in this matter,
                              U.S. Legal Support | www.uslegalsupport.com

     19· ·if one is needed.

     20· · · · · · Lastly, the parties have stipulated to waive the

     21· ·Article 11, Section 11.7 requirement that I submit a

     22· ·decision within 30 days of hearing or submission of

     23· ·post-hearing briefs, and I thank the parties for that.            I

     24· ·do try to hit the 30-day deadline.· Sometimes that just

     25· ·doesn't happen.· I appreciate that stipulation.


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                                                                                          YVer1f




                                                                                Exhibit 1
                                                                                     1-8
Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 9 of 111 Page ID #:420

                              Transcript of Proceedings
                                  February 27, 2018

    ·1· · · · · · As far as my summary so far, is that a correct

    ·2· ·summary of our off-record discussions, first, for the

    ·3· ·union?
                                      Transcript of Proceedings
                                          February 27, 2018

    ·4· · · · · · MS. MARTIN:· Yes.

    ·5· · · · · · ARBITRATOR PRIHAR:· And for the employer?

    ·6· · · · · · MR. STONE:· Yes.

    ·7· · · · · · ARBITRATOR PRIHAR:· Do either of you wish to add

    ·8· ·anything before we go further?

    ·9· · · · · · MS. MARTIN:· No.

    10· · · · · · MR. STONE:· No.

    11· · · · · · ARBITRATOR PRIHAR:· With that, let me turn to

    12· ·the Union and allow the Union to state its issues as it

    13· ·sees the case.

    14· · · · · · MS. MARTIN:· There are three parts to the issue

    15· ·that I'm about to state.

    16· · · · · · The first is procedural and the second and third

    17· ·are substantive.

    18· · · · · · The procedural issues:· Should the grievance be
                             U.S. Legal Support | www.uslegalsupport.com

    19· ·sustained because the employer failed to make a timely

    20· ·written response to Step 2 of the grievance process?· If

    21· ·so, what is the appropriate remedy?

    22· · · · · · If the grievance is not sustained on the

    23· ·aforementioned procedural ground, then the following two

    24· ·issues should be resolved by the arbitrator.

    25· · · · · · First, did the employer violate Article 2 of the


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                                                                                     YVer1f




                                                                           Exhibit 1
                                                                                1-9
Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 10 of 111 Page ID #:421

                                Transcript of Proceedings
                                    February 27, 2018

     ·1· ·collective bargaining agreement by failing to provide,

     ·2· ·assist in the completion of, and/or omit union membership

     ·3· ·applications and dues check-off authorizations to the
                                       Transcript of Proceedings
                                           February 27, 2018

     ·4· ·union?· If so, what is the appropriate remedy?

     ·5· · · · · · The second substantive issue, which would be

     ·6· ·resolved if the grievance is not sustained on the

     ·7· ·procedural grounds, is, did the employer violate Article

     ·8· ·2 of the collective argument agreement by failing to

     ·9· ·deduct union initiation fees and/or monthly dues from

     10· ·employees' earnings?· If so, what is the appropriate

     11· ·remedy?

     12· · · · · · ARBITRATOR PRIHAR:· Thank you.

     13· · · · · · Issues stated by the employer.

     14· · · · · · MR. STONE:· Thank you.

     15· · · · · · A number of issues, procedural.· The first is

     16· ·the grievance has been entered into the record as

     17· ·Joint Exhibit 2, and it is set forth as a class action

     18· ·grievance.· We raise an issue if the Union has the right
                              U.S. Legal Support | www.uslegalsupport.com

     19· ·to file a class action under the collective bargaining

     20· ·agreement.

     21· · · · · · Second issue is timeliness issue based on when

     22· ·the grievance was filed.· The grievance was filed

     23· ·March 15, 2017.· This case has to do with Union dues and

     24· ·initiation fees that allegedly were not deducted or sent

     25· ·to the Union, but it dates back to February of 2016.


                       U.S. Legal Support | www.uslegalsupport.com                8
                                                                                      YVer1f




                                                                            Exhibit 1
                                                                                1-10
Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 11 of 111 Page ID #:422

                              Transcript of Proceedings
                                  February 27, 2018

     ·1· · · · · · We think that each instance, really, would

     ·2· ·amount to a separate grievance since they are separate

     ·3· ·and distinct obligations; therefore, we think that this
                                      Transcript of Proceedings
                                          February 27, 2018

     ·4· ·grievance is untimely.· The only aspect of this that is

     ·5· ·timely is if you look at the grievance under the

     ·6· ·collective bargaining agreement.· The Union has 15

     ·7· ·days -- either party has 15 days from the occurrence of a

     ·8· ·disputed aspect to raise it as a grievance.· If you go

     ·9· ·back to March 1, there are only about 379 occurrences,

     10· ·which would be encompassed by the grievance.· There were

     11· ·no additional grievances filed, but it would leave the

     12· ·vast majority of this case as untimely.

     13· · · · · · In terms of the merits, whether the language of

     14· ·Article 2.12 is unlawful, if enforced against those

     15· ·employees.· It did not sign the Union authorization form

     16· ·by finding an authorization of this collective bargaining

     17· ·agreement, and whether the collective bargaining

     18· ·agreement was violated with respect to the failure to
                             U.S. Legal Support | www.uslegalsupport.com

     19· ·deduct dues and initiation fees for the employees that

     20· ·did not sign an authorization form.

     21· · · · · · As a final, whether the aspect -- what seems to

     22· ·be implied here is that the employer seems to make sure

     23· ·that the employer authorization form is executed by the

     24· ·employees and sent to the Union and -- I guess it would

     25· ·be an aspect of whether the collective bargaining


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                                                                                     YVer1f




                                                                           Exhibit 1
                                                                               1-11
Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 12 of 111 Page ID #:423

                               Transcript of Proceedings
                                   February 27, 2018

     ·1· ·agreement actually makes that requirement.· There is

     ·2· ·language in the agreement that talks about assisting the

     ·3· ·union, and that's what the employer has done.· We're
                                       Transcript of Proceedings
                                           February 27, 2018

     ·4· ·nothing more than a payroll service, so whether that can

     ·5· ·even be cited is a violation.

     ·6· · · · · · ARBITRATOR PRIHAR:· All right.· Thank you very

     ·7· ·much.

     ·8· · · · · · Before we go further, is there anything else

     ·9· ·that the parties wish to address or put on the record?

     10· · · · · · MR. STONE:· No.

     11· · · · · · MS. MARTIN:· No.

     12· · · · · · ARBITRATOR PRIHAR:· With that, we're ready to

     13· ·proceed.

     14· · · · · · MS. MARTIN:· There is one issue:· The Union

     15· ·produced the Union bylaws to the employer on the

     16· ·condition that they maintained confidential, not used for

     17· ·any purpose outside of this case and be returned to the

     18· ·Union at the conclusion of this proceeding.
                              U.S. Legal Support | www.uslegalsupport.com

     19· · · · · · ARBITRATOR PRIHAR:· My understanding is you're

     20· ·amenable to that?

     21· · · · · · MR. STONE:· That's fine.

     22· · · · · · ARBITRATOR PRIHAR:· Thank you.· With that, I

     23· ·invite opening statements.· Turn to the Union.

     24· · · · · · MS. MARTIN:· So, as you have learned, that this

     25· ·case is about the dues check-off language in the


                     U.S. Legal Support | www.uslegalsupport.com                 10
                                                                                      YVer1f




                                                                            Exhibit 1
                                                                                1-12
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                               Transcript of Proceedings
                                   February 27, 2018

     ·1· ·STATE OF CALIFORNIA· · )
     · · · · · · · · · · · · · · )
     ·2· ·COUNTY OF LOS ANGELES· )

     ·3

     ·4· · · · I, Brandi Celestino, a Certified Shorthand Reporter,

     ·5· ·do hereby certify:

     ·6

     ·7· · · · That prior to being examined, the witness in the

     ·8· ·foregoing proceedings was by me duly sworn to testify to

     ·9· ·the truth, the whole truth, and nothing but the truth;

     10· · · · That said proceedings were taken before me at the

     11· ·time and place therein set forth and were taken down by

     12· ·me in shorthand and thereafter transcribed into

     13· ·typewriting under my direction and supervision;

     14· · · · I further certify that I am neither counsel for, nor

     15· ·related to, any party to said proceedings, not in any way

     16· ·interested in the outcome thereof.

     17· · · · In witness whereof, I have hereunto subscribed my

     18· ·name.

     19

     20· ·Dated:· February 27, 2018

     21

     22

     23
     · · ·_______________________________
     24
     · · ·Brandi Celestino
     25


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                                                                      Exhibit 1
                                                                          1-13
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                                Exhibit 2




                                                                    Exhibit 2
                                                                        2-14
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   McCRACKEN, STEMERMAN & HOLSBERRY, LLP
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   San Francisco, CA 94105
   Telephone: 415-597-7200
   Fax: 415-597-7201

   Attorneys for UNITE HERE Local 11


                        IN THE ARBITRATION PROCEEDINGS BEFORE

                                  ARBITRATOR GUY PRIHAR
     In the Matter of a Controversy

                    Between

     Host International, Inc.
                    Employer,                 UNION’S POST-HEARING BRIEF

     and

     UNITE HERE Local 11
           Union.

     (LAX Union Dues)




                                                                    Exhibit 2
                                                                        2-15
Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 16 of 111 Page ID #:427


                                                              Table of Contents
 Issues ............................................................................................................................................... 1

 Statement of Facts ........................................................................................................................... 2

    A. The Dues Collection System ................................................................................................ 2

        1. Host distributes and collects dues cards at orientation. .................................................... 2

        2. Host deducts dues each month and sends Local 11 a report. ........................................... 3

        3. Local 11 attempts to identify missing dues payments...................................................... 4

    B. Dues deductions from the former CMS employees’ wages ................................................. 6

        1. Host hired about 300 employees who had worked for CMS. .......................................... 6

        2. Carolina Simmons discovered that Host did not deduct September and October dues
        from the CMS employees’ wages. .......................................................................................... 6

        3. Host agreed to deduct dues from the CMS employees’ wages. ....................................... 7

        4. Host did not deduct dues from all of the former CMS employees’ wages. ..................... 8

    C. Local 11 tried repeatedly to fix the problem. ....................................................................... 9

        1. Carolina Simmons’ efforts in 2016 .................................................................................. 9

        2. Carolina Simmons’ efforts in 2017 ................................................................................ 11

    D. Local 11 filed this grievance. ............................................................................................. 12

    E. Host broke promises it made after the grievance was filed. ............................................... 13

    F. Local 11’s further efforts in 2017 and 2018 ....................................................................... 14

 Argument ...................................................................................................................................... 15

    A. The Employer defaulted during the grievance process. ..................................................... 15

    B. Host violated the Article 2.................................................................................................. 16



                                                                                                                                          Exhibit 2
                                                                                                                                              2-16
Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 17 of 111 Page ID #:428


        1. Host failed to deduct dues from the wages of employees who signed dues cards. ........ 17

        2. Host failed to present dues cards to employees and assist employees to complete the
        cards. ..................................................................................................................................... 19

        3. Host has the burden of proving that it complied with Articles 2.7 and 2.10.................. 21

    C. Host’s long list of defenses amount to nothing. ................................................................. 23

        1. Article 2.12 does not require Local 11 to seek the back dues from employees instead of
        Host. ...................................................................................................................................... 23

        2. The Union’s record-keeping is not the problem............................................................. 25

        3. Labor law’s anti-bribery statute does not prohibit a monetary remedy to Local 11. ..... 25

        4. Host does not have a timeliness defense. ....................................................................... 27

        5. Local 11 was not required to file hundreds of separate grievances. .............................. 29

        6. Local 11 did not abandon this grievance in bargaining. ................................................ 29

 Remedy ......................................................................................................................................... 30

 Conclusion .................................................................................................................................... 32




                                                                                                                                        Exhibit 2
                                                                                                                                            2-17
Case 2:19-cv-01568-SS Document 16-2 Filed 03/25/19 Page 18 of 111 Page ID #:429



                                               Issues
        The parties stipulated to give the Arbitrator authority to frame the issue. Tr. 1 6. Local 11

asked the Arbitrator to decide the following issues:

        1. Should the grievance be sustained because the Employer failed to make a
        timely written response to Step 2 of the grievance process? If so, what is the
        appropriate remedy?
        2. Did the Employer violate Article 2 of the Collective Bargaining Agreement by
        failing to provide, assist in the completion of, and/ or remit union membership
        applications and dues deduction authorizations to the Union? If so, what is the
        appropriate remedy?
        3. Did the Employer violate Article 2 of the Collective Bargaining Agreement by
        failing to deduct union initiation fees and/or monthly dues from employees’
        earnings? If so, what is the appropriate remedy?
Tr.(I) 7-8.

        Host’s counsel described four issues in narrative form: (a) whether Local 11 improperly

filed a class-action grievance; (b) whether the grievance is timely; (c) whether Local 11 can

lawfully require Host to deduct dues from the wages of employees who did not authorize

deduction; and (d) whether Host must ensure that employees sign the dues authorization form.

Tr.(I) 8-10. The last two issues are not actually matters in dispute. Local 11 agrees that Host

may not deduct dues from employees’ wages without a written authorization and that Host may

not compel employees to agree to dues deduction. Jt. Ex. 6 (¶¶ 3-4).

///

///

///



1
 The transcript for each day of hearing begins with page 1. The abbreviation “Tr.(I)” refers to
the transcript for the first day of hearing. The transcripts for the subsequent days of hearing are
identified as “Tr.(II)”; “Tr.(III)”, and “Tr.(V).” No testimony was given on the fourth hearing
day.


                                                                                          Exhibit 2
                                                                                              2-18
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                                        Statement of Facts
A.     The Dues Collection System 2
       1.      Host distributes and collects dues cards at orientation.
       Host operates food concessions at airports around the United States, and Local 11

represents Host’s employees at LAX. There are currently about 1,000 to 1,200 employees in the

LAX bargaining unit but that number fluctuates seasonally and when Host acquires new outlets.

Tr.(II) 101; Tr.(III) 55. Local 11 has represented Host’s employees at LAX since at least 1997.

Tr.(I) 166-67. During that time, Local 11 has provided Host with blank copies of its dues card

forms 3 and Host’s practice has been to distribute dues cards in orientation meetings that all

newly-hired employees are required to attend before starting work. Tr.(I) 30-31, 167-68; Tr.(II)

94-95, 107-09, 118-19; Tr.(III) 37-38, 55-56; Tr.(V) 24-25, 43; Un. Ex. 1. Local 11 has relied on

that practice. Its representatives have the right to attend orientation meetings, but they don’t

ordinarily do so. Tr.(I) 168; Tr.(II) 95-96, 112-13, 119-20; Jt. Ex. 6, at ¶ 1.

       Local 11 uses a dual-purpose card that allows employees to apply for membership and

authorize dues to be deducted from their paychecks. Tr.(I) 30; Un. Ex. 1. The employee applies

for membership in Local 11 by filling out the card. To authorize Host to deduct dues from the

employee’s wages, the employee must initial where it says “Initial here for Check-Off.” Un. Ex.

1. When Host distributes the dues card to employees during orientation, it explains to employees

that they must become members of Local 11, but they do not have to authorize deduction of their



2
 This case involves Host’s obligations with respect to monthly dues and initiation fees. As to
both, Host’s obligations are the same. See Jt. Ex. 1, at 3 (Arts. 2.10 & 2.11). In this brief, we
use the word “dues” as shorthand for both dues and fees.

3
 This form is variously referred to as a “union card”, a “union authorization card”, a “dues
checkoff card” a “dues authorization card” and a “dues card.” In this brief, the term “dues card”
will be used.




                                                                                            Exhibit 2
                                                                                                2-19
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 union dues from their wages. Tr.(V) 24-25; see also Jt. Ex. 1 (Art. 2.2 & 2.3) (union

 membership is a condition of employment).

         2.       Host deducts dues each month and sends Local 11 a report.
         Within a few days of each orientation session, Host enters each dues deduction

 authorization into the employee’s file in Host’s computer system (PeopleSoft), puts a hard copy

 of the card in the employee’s personnel file and sends another copy to Local 11. Tr.(III) 62-63;

 Tr.(V) 38-41. Host then begins deducting dues from the first paycheck each month. Tr.(III) 96-

 97. Host knows how much to deduct because Local 11 notifies Host how much its dues are

 when the rates change, and Host also enters that information into PeopleSoft. Tr.(I) 41-42;

 Tr.(V) 63; Un. Ex. 3. The deduction is automated. If Host has entered the dues card

 authorization into PeopleSoft, then dues will be deducted automatically. Tr.(III) 62-63, 97;

 Tr.(V) 41, 63.

         Each month, Host sends the entire amount that it has deducted from LAX employees’

 wages to Local 11’s bank account via ACH bank transfer. Tr.(II) 8; Tr.(III) 96-97. Host also

 sends Local 11 a “Dues Report” by email. Tr.(I) 32-33; Tr.(II) 10-12, 30-32; Un. Exs. 12, 24;

 Em. Ex. 2. Employees, who are identified on the Dues Report by name and social security

 number, fall into two categories:

     •   Employees from whose paychecks some form of union dues (monthly dues, initiation
         fees or dues arrears 4) has been deducted; and

     •   Employees from whose paychecks the full amount of union dues, initiation fees or dues
         adjustments has not been deducted. This occurs when the net take-home pay is



 4
  The Dues Report has a column for arrears (with the heading “ONEADJ Fee”) but deduction of
 arrears is extremely rare as the dues reports that are Union Exhibit 12 and Employer Exhibit 2
 demonstrate. See also Tr.(III) 120-21.




                                                                                          Exhibit 2
                                                                                              2-20
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       insufficient because taxes on the employee’s tips have eaten up most or all of the
       employee’s wages. 5

Tr.(I) 157-58; Tr.(II) 17-18; Tr.(III) 101-02. The Dues Report does not include employees

whose net pay after taxes is sufficient to pay union dues, but from whose paychecks Host has not

deducted dues. Tr.(I) 157-58; Tr.(III) 119-22. These employees also fall into two categories:

employees who did not sign a dues card authorizing dues to be deducted from their wages; and

employees who did sign a dues card, but from whose wages Host failed to deduct dues. Tr.(II)

19, 83-84.

       3.      Local 11 attempts to identify missing dues payments.
       When Local 11 receives the Dues Report, Dues Processor Carolina Simmons converts the

report into a form that Local 11’s computer program (known as TIMMS) can read and removes

unnecessary information. 6 What is left is a simple report with three columns: employee name,

social security number and the amount of dues deducted. Tr.(II) 10-12; see e.g., Un. Ex. 12




5
  Host’s counsel asserted that dues could not be deducted if the net pay after the deduction would
be less than the minimum wage. Tr.(I) 140, 143, 146; see also Tr.(I) 158-59. Host’s Senior
Director of Labor Relations said that proposition depends on state law. Tr.(III) 59. Both are
incorrect. An employee’s agreement to dues deduction is simply a contractual assignment by the
employee of some of her wages to the union. See 29 U.S.C. § 302(c)(4) (describing dues-
deduction authorization as an “assignment”). It is not an involuntary garnishment. The
employee can choose to assign her wages to the union, just as she could assign her wages to her
landlord for rent, or to her gym for a membership, or to anyone else to whom the employee
chooses to give her money. Minimum wage law has nothing to do with it. Moreover, federal
law preempts states from regulating union dues deduction. IAM Dist. Ten v. Allen, __ F.3d __
(7th Cir. Sept. 13, 2018); UFCW Local 99 v. State of Arizona, 934 F.Supp.2d 1167, 1182 (D.
Ariz. 2013); Seapak v. Industrial, Technical and Professional Emp., Division of National
Maritime Union, AFL-CIO, 300 F. Supp. 1197 (N.D. Ga. 1969), aff’d 400 U.S. 985 (1971).
6
 At the hearing, Host’s counsel made a big deal about the fact that Simmons removes
information about employees from whose wages no dues are deducted. There is a good reason
why Simmons does this. TIMMS is a database of dues that employee have paid. It does not
catalogue the reasons why employees have not paid dues.


                                                                                            Exhibit 2
                                                                                                2-21
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(excel chart labeled “010.2016-02 Report”). Simons then uploads that information into TIMMS.

Tr.(II) 12.

        Next, Simmons attempts to determine whether any employees have not paid dues by

generating a “Missing Payment Report” from TIMMS. The Missing Payment Report lists

employees who appear in TIMMS as Host employees, but from whose wages no dues have been

deducted. Importantly, the Missing Payment Report does not list all Host employees who have

not paid dues that month. That would be impossible. Local 11 cannot include employees on the

report unless it knows that the employee works for Host. In other words, if an employee has not

been identified in TIMMS as a Host employee, the employee will not show up on the Missing

Payment Report. 7

        Simmons sends the Missing Payment Report to Host, and requests an explanation why no

dues have been deducted from the wages of each employee listed on the report. Tr.(I) 33-38;

Tr.(II) 20-22, 69-70, 81; Un. Ex. 2; Em. Ex. 1. Host responds sometimes, but not always. Tr.(I)

38-39; Tr.(V) 55. If Host responds to the Missing Payment Report, Local 11 might learn, for

example, that the employee is on a leave of absence or is no longer working for Host. Tr.(I) 37-

38. But sometimes Host just responds that the employee is “Active” without explaining why no

dues were deducted. See, e.g., Un. Ex. 25. Host has never responded to a Missing Payment

Report by telling Local 11 that it did not deduct dues because the employee had not signed a

dues card. Tr.(I) 39; Tr.(V) 54-55.

///

///



7
 To update the TIMMS database, Local 11 periodically requests “employee rosters” from Host,
showing all employees working for Host. Tr.(I) 41, 43-44, 118-19, 158; Tr.(II) 19-21; Un. Ex. 4.



                                                                                         Exhibit 2
                                                                                             2-22
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 B.     Dues deductions from the former CMS employees’ wages
        1.      Host hired about 300 employees who had worked for CMS.
        On August 20, 2016, Host acquired twelve outlets at LAX from another concessionaire

 called CMS. Tr.(I) 169; Tr.(II) 133-34; Tr.(III) 53-54; Un. Ex. 18; Un. Ex. 26. Host retained

 most of the approximately 300 CMS employees, and those employees continued working in the

 same outlets as when they had worked for CMS. Tr.(II) 165-66; Tr.(III) 54-55; Un. Ex. 18. The

 outlets remained opened and there was no gap the former CMS employees’ employment. 8

 Tr.(II) 96-97; Tr.(III) 65; Tr.(V) 26-27. Host treated the CMS employees as new hires, and

 required them to undergo the same new-hire orientation as other newly hired employees, except

 that the orientations were scheduled to accommodate the CMS employees’ schedules and the

 program was condensed into one day. Tr.(I) 170-71; Tr.(II) 97, 140; Tr.(III) 63-64; Tr.(V) 26-

 27, 30-31.

        2.      Carolina Simmons discovered that Host did not deduct September and
                October dues from the CMS employees’ wages.
        On September 6, 2016, Host sent Local 11 the September Dues Report, and on October

 11, 2016, Host sent the October Dues Report. Un. Ex. 12. Those reports did not include the

 former CMS employees.

        On October 13, 2016, Local 11 Dues Processer Carolina Simmons contacted Host’s

 Regional Assistant Human Resources Director Angelina Preston, who was doing the LAX

 Human Resources Manager job because the prior Human Resources Manager (Ava White) left




 8
  Host’s counsel elicited much testimony about the airport badging process, but that is irrelevant.
 The former CMS employees were able to work for Host under their CMS badges while waiting
 for their Host badges to be approved. Tr.(III) 64; Tr.(V) 32-34.




                                                                                           Exhibit 2
                                                                                               2-23
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 the month before and Host had not filled the position. Simmons told Preston that Host had not

 deducted dues from the former CMS employees’ wages:

        Can you please let me know how the deductions are going as far as the new
        members acquire from CMS.
        HMS Host is responsible for the Sept. 2016. Those dues were not deducted. The
        members now owe September and October 2016. Can you confirm if October
        was deducted?
        Also, Local 11 understands that is the company’s responsibility for those extra
        deductions, and expect the company to deduct double the dues for all the
        members that owe Sept & October 2016.
 Un. Ex. 14. Preston responded that she would check. Id.

        Simmons followed up on October 17 with this message to Preston:

        Any updates on this? I have been receiving calls from members that are really
        upset that they will be owing 2 months worth of dues.
        We need to fix this issue as soon as possible.
 Id. Again, Preston responded that she would check. Id.

        3.     Host agreed to deduct dues from the CMS employees’ wages.
        A few hours later, Preston sent her responses to Simmons in “ALL CAPS”:

        Can you please let me know how the deductions are going as far as the new
        members acquire from CMS.
        HMS Host is responsible for the Sept. 2016. Those dues were not deducted. The
        members now owe September and October 2016. Can you confirm if October
        was deducted?
        THIS WAS NOT UNFORTUNATELY DEDUCTED. CAN YOU PLEASE
        SEND ME A LIST OF CMS NAMES SO THAT WE CAN SEND THEIR
        INFORMATION TO CORPORATE.
        Also, Local 11 understands that is the company’s responsibility for those extra
        deductions, and expect the company to deduct double the dues for all the
        members that owe Sept & October 2016.
        WE WILL DEDUCT ARREARS AND MOVING FORWARD WE WILL
        CONTINUE TO DEDUCT. WHAT IS THE AMOUNT THEY WILL PAY



                                                                                          Exhibit 2
                                                                                              2-24
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       MONTHLY – IS IT THE SAME AS OUR SCALE? CAN YOU PLEASE
       SEND.
Id. Simmons responded that she did not have the list Preston had requested, and Preston then

responded that she had a list from CMS that she could “cross-reference” to determine which

CMS employees Host had employed. Id.; Tr.(II) 163-64, 166.

       On October 18, Simmons sent Preston a list of 312 former CMS employees, along with

the amount of dues that each owed for September and October 2016. Un. Ex. 14. On October

21, Preston responded that 43 of the former CMS employees were not “active employees (termed

or never transitioned) or are not union associates”, Un. Ex. 15; implying that Host had employed

the other 269 former CMS employees. In the same email, Preston said, “Per Corporate we are

asking accounts payable to expedite payment by the end of month. I will let you know if this has

been granted.” Id. Simmons thought that the problem was solved. Id.

       4.     Host did not deduct dues from all of the former CMS employees’ wages.
       Host deducted the September and October dues from 239 of the former CMS employees

named on the list attached to Union Exhibit 14 in two batches: 95 in second October pay period

and 144 on about November 9 with the regular November dues deduction. The October

deductions appear on Union Exhibit 12(b), and the November deductions appear on Union

Exhibit 12 (chart labeled “010.2 2016-11 Report”). See also Un. Ex. 12 (chart labeled “010.1

2016-11 Email from J. Sutherland re Nov 2016 Dues Reports” stating that “the 2nd arrears

deductions are listed under the ONEADJ code”).

       But Host did not fix the problem completely. First, Host did not deduct any dues from

the remaining thirty or more former CMS employees who are listed on Union Exhibit 14 and

who are not among the group that Preston said were not working for Host. If Host had done so,




                                                                                        Exhibit 2
                                                                                            2-25
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 the deductions would be reflected on the Dues Reports that are compiled on Union Exhibit 12

 and Employer Exhibit 2. They are not there.

         Second, Host did not continue to deduct dues from the former CMS employees from

 whose October 2016 wages it deducted the September and October dues. The chart that is

 Appendix A to this Brief compiles the evidence about twelve employees who are among those

 on the list attached to Union Exhibit 14: five employees from whom the September and October

 dues were deducted in October, as reflected on Union Exhibit 12(b) (

                                                              ); and seven employees from

 whom the September and October dues were deducted in November, as reflected on Union

 Exhibit 12 (chart labeled “010.2 2016-11 Report”) (



                         ). 9 These employees are examples. After deducting the September and

 October dues from the October wages of the first group, Host did not deduct dues from their

 wages in subsequent months. These employees are examples. The same is true about the other

 92 employees from whose wages Host deducted the September and October dues in October

 2016.

 C.      Local 11 tried repeatedly to fix the problem.
         1.     Carolina Simmons’ efforts in 2016


 9
   The employees from whose wages the September and October dues were deducted in October
 appear primarily, but not exclusively, on pages 1 to 10 of the list attached to Union Exhibit 14.
 The employees from whose wages the September and October dues were deducted in November
 appear primarily on pages 11 to 17 of the list. We chose employees in each sample group whose
 last names begin with “A” and whose names are uncommon, making it unlikely that Host
 employs another employee with the same name. We also included two employees (
                                              ) who are among those that Preston’s October 21
 email says Host did not employ.



                                                                                         Exhibit 2
                                                                                             2-26
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       In late 2016, Simmons realized that there were still problems with Host’s dues deductions

because a few Host employees contacted her to report that dues had not been deducted from their

paychecks. When this occurred, Simmons notified the person who was doing the Human

Resources Manager job at the time. Tr.(I) 44-45. On November 15, 2016, Simmons sent an

email to Jeff Pantel:

       Can you verify the reason why                   [SSN] not paying dues.

       Also, can you please let me know if others in his location are in the same boat.

Un. Ex. 5; Tr.(I) 45-47. Pantel responded that he would “reach out to Cindy [Yasuda] and make

sure we get it taken care of.” Un. Ex. 5.

       On November 18, Simmons followed up with Yasuda. Id. Yasuda responded:

       I viewed this employee’s record and saw no issue with his hire record in
       PeopleSoft. I can contact our IT corporate group to inquire, but I have no
       explanation for why his dues are not being deducted from his paycheck.
Id. Simmons responded:

       This member needs to be deducted union immediately along with back dues.
       I got to ask who else can be under the same situation. Can you make sure that all
       HMS host workers are being deducted.
Id. Yasuda promised to respond, id.; but she didn’t. Tr.(I) 50.

       Next, on December 9, 2016, Simmons contacted Angelina Preston about two employees

(               and                         ) who were not having dues deducted and said, “pretty

sure there are more.” Un. Ex. 5. Preston promised that Yasuda would research it, id.; and

Yasudo reiterated that she would do so:

       We concur this is a serious matter.

       We are in the process of auditing our records to determine which active
       employees are/or not paying dues.




                                                                                          Exhibit 2
                                                                                              2-27
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       Our goal is to complete the audit early next week. We will continue to keep you
       posted on our progress, thank you.
Id. On December 15, 2016, Simmons emailed Yasuda and Preston again:

       Any updates on this issue?
                      came in on Monday to discuss and understand the reason why her
       dues are not being deducted. I need to make sure we all understand the severity
       of this issue.
       Members have been there almost 6 months and not paid any dues.
       Please give me an update as soon as possible.
Id. By “members have been there 6 months”, Simmons was referring to the former CMS

employees and employees whom Host hired during the busy summer season. Tr.(I) 52. Once

again, Preston said that she would talk to Yasuda. Un. Ex. 5.

       Host did not begin deducting dues from                   ’s and                         ’s

wages until April 2017, and it did not deduct dues from                  ’s wages at all. This is so,

even though                   and       signed dues cards in February 2017, July 2016 and May

2016 respectively. See Appendix B. Yasuda’s November 18 email (“I have no explanation for

why his dues are not being deducted from his paycheck”) suggests that               also signed

another dues card months earlier.

       2.     Carolina Simmons’ efforts in 2017
       By January 2017, Faith Baaadamako was Host’s Human Resources Manager at LAX.

On January 30, Simmons requested a phone conversation with Baaadamako and Preston. Un.

Ex. 6. On that call, Preston admitted that there was a “big problem” and promised to work with

Simmons to fix it. Tr.(I) 57-58. On February 8, 2017, Baaadamako sent an email to Simmons

about her planned research, and asked if Simmons could run a report of dues authorization cards.

Baaadamako explained, “My goal then would be to go out and get dues authorization cards. I

know I don’t have any for CMS.” Un. Ex. 6. Simmons promised to send the list, and also sent



                                                                                              Exhibit 2
                                                                                                  2-28
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Baaadamako the names of five more “New Members that are not paying union dues, but sign in

[sic] a membership application.” Id.; Tr.(I) 59-60. Host did not deduct dues from these five

employees’ wages until April 2017. One of those employees signed a dues card in May 2016

and another signed a card in January 2017. See Appendix B.

        Sometime before February 23, 2017, Simmons met in person with Baaadamoko and

Preston at their office. Again, Baaadamoko and Preston said that “they were willing to work

with [Simmons by] trying to collect the membership cards and start the dues deductions.” Tr.(I)

69. On February 22, 2017, Simmons requested that Baaadamako send a list of all the CMS

employees now working for Host. Baaadamako promised to work on it. Un. Ex. 19. Simmons

sent a reminder on March 9, id.; but Baaadamako never provided the list. Tr.(II) 203-05.

        On February 23, Simmons sent an “audit of members not paying union dues” to

Baaadamako and Preston that listed 200 employees. Simmons offered to answer any questions

and asked to be informed “when you get an answer from corporate about the payment.” Un. Ex.

7(a, b); Tr.(I) 63-66.

D.      Local 11 filed this grievance.
        Simmons told Local 11’s Administrative Lead Martin Lopez that she was not getting

anywhere in her efforts to resolve the problem with Host, Tr.(II) 253; so on March 15, 2017,

Local 11 filed a grievance against Host for not collecting dues cards or sending dues to Local 11.

Jt. Ex. 2; Tr.(II) 205-06.

        The grievance meeting was held on April 10, 2017. Martin Lopez and Carolina Simmons

represented Local 11. Faith Baaadamako and Host’s Senior Director of Operations Eric Walden

represented Host. Lopez said that Local 11 had been trying to solve the problem for several

months. Baaadamako asked what Local 11 had done to collect the dues cards. Tr.(II) 206-08.

Baaadamako also said that some employees had refused to sign dues cards. Lopez asked who



                                                                                         Exhibit 2
                                                                                             2-29
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 they were but Baaadamako did not respond and no one at Host answered Lopez’s question at a

 later time. Tr.(II) 208-09. Lopez asked Walden for Host’s position. Walden declined to give

 one, saying that he would let Host’s attorneys argue. Tr.(II) 209. Neither Baaadamako nor

 Walden said that Local 11’s position was unlawful, that Local 11’s grievance was untimely or

 that Local 11 should have filed multiple grievances instead of a single class action grievance.

 Tr.(II) 210. Host never sent a written response to the grievance. Tr.(II) 209-10.

 E.     Host broke promises it made after the grievance was filed.
        On May 31, 2017, Martin Lopez, along with Local 11 Organizing Director Robin

 Rodriguez, spoke to Host’s Senior Director of Labor Relations Brian Donohoe by phone about

 the grievance. Tr.(I) 171-72. The conversation was short. Donohoe said that that Local 11

 should collect the dues cards during employee orientations, and that it was not Host’s

 responsibility to do so. Rodriguez explained that the practice had been for Host to collect dues

 cards at orientations. Tr.(I) 173; Tr.(II) 211-13. Lopez described Local 11’s efforts to resolve

 the problem. Donohoe asked Lopez to send him a copy of Simmons’ audit. Tr.(II) 213-14.

 Donohoe also admitted that Host’s “new HR person” Faith Baaadamako “was not doing the best

 job” keeping up with Human Resources systems, including dues cards. Tr.(I) 175. By October

 2017, Baaadamako was no longer working for Host. Tr.(II) 128.

        Donohoe gave a different and evolving account of the conversation. He first said that the

 concern that Rodriguez and Lopez expressed was that the Host managers had not given them

 information that they had requested about employees. Tr.(V) 39-40. Donohoe later said that

 Rodriguez and Lopez asserted that Host was responsible for the back dues, which indicates that

 they were concerned about more than just getting information. Tr.(V) 40-41.

        According to Donohoe, he concluded the conversation by promising to send an updated

 employee roster, and the “branch” sent Local 11 the requested roster in June. Tr.(V) 41-44.



                                                                                           Exhibit 2
                                                                                               2-30
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 Host did not introduce a documents to corroborate Donohoe’s claim. The paper trail reveals a

 different story.

         After the telephone call, Martin Lopez sent Donohoe the reports that Simmons had

 prepared, along with an update. Lopez reiterated, “We have been asking for a while that the

 Company audits this list and provides updated information as to the current employment status

 for all these employees.” Un. Ex. 8(a). Donohoe promised to take action:

         I spoke with our team at LAX today and we can commit to completing our review
         of the list that you forwarded by next Friday, June 9. To the extent that there
         remains active employees on that list who have signed a dues authorization card
         but are not having dues deducted, or who have not been presented an opportunity
         to have their dues deducted from their paycheck, we have set the following
         Friday, June 16, as our target for having that follow up completed.
 Un. Ex. 8(a). Donohoe did not do that. Tr.(II) 214-16.

         On June 30, 2017, Lopez followed up with Donohoe, asking, “Any news on your team

 completing the review of the list? When can we expect to have a response?” Un. Ex. 8(a).

 Donohoe did not respond. Tr.(II) 216; Tr.(III) 72-73.

 F.      Local 11’s further efforts in 2017 and 2018
         On June 20, 2017, Simmons contacted Baaadamako and Preston about an employee

 named                      :

                       informed Marlene that her union dues have not been deducted
         even though she has been working @ HMS HOST since August 2016.
         Not sure what’s going on still Faith, can you please send me a roster. I need to
         know who else is in the same boat. I didn’t think this is still going on.
 Un. Ex. 9; Tr.(I) 81.              signed a dues card in December 2017, but Host did not begin

 deducting dues from her wages until February 2018. See Appendix B.

         On August 15, 2017, Simmons emailed Preston a dues card for an employee named

                    , with the comment, “Still finding members that are not being deducted properly,




                                                                                            Exhibit 2
                                                                                                2-31
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 can you make sure moving forward this members get union dues deducted.” Un. Ex. 16.

 signed a dues card in March 2017, but Host never began deducting dues from              ’s wages.

 See Appendix B.

        On March 14, 2018, Simmons emailed Preston a dues card for an employee named

           with the following comment:

                    came into our union office indicating that he has been working at
        HMS Host December 2017 and still his union dues have not been deducted.
        Can you confirm that he was in orientation and if a membership application was
        given, it looks like nothing has changed. Members are still having issues with his
        dues and dues membership forms collection.
        Can you let me know the reason why this member still has not been deducted. I
        provided his membership application for you, can you make sure he gets deducted
        his monthly union dues and initiation.
 Un. Ex. 17. This time Preston responded:

        Unfortunately, I am not sure what happened with this previously and why the
        deduction did not go through. However, Astrid reentered it into our system
        yesterday. He will be deducted next pay period.
 Un. Ex. 18.

                                              Argument
 A.     The Employer defaulted during the grievance process.
        Article 10.2 of the Collective Bargaining Agreement describes Step 2 of the grievance

 process, which is where this grievance began since it is a “contract language” grievance. Jt. Ex.

 1, at 17 (“All . . . disputes of contract language shall begin at Step Two.”). It requires Host to

 “submit a written response to the grievance within ten days of the Step Two meeting” not

 including Saturdays, Sundays or holidays. Id. (Art. 10.4). There are consequences for Host if it

 disregards this obligation. “If a written response is not made within the time limits set forth in

 Step Two, the grievance will be considered sustained.” Id.




                                                                                             Exhibit 2
                                                                                                 2-32
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        The grievance meeting was held on April 10, 2017. Tr.(II) 206. Not only did Host not

 respond within ten working days (April 24), Host did not ever submitted a written response to

 Local 11’s grievance. Tr.(II) 209-10. For this reason alone, Local 11’s grievance should be

 sustained.

        There are important reasons for the written response requirement. It forces the

 nongrieving party to determine during the grievance process what its legal position is and to do

 the investigation necessary to make that determination. If the grievance is arbitrated, the parties

 can present their cases efficiently because their legal positions have been established. That is not

 what happened here. The hearing in this case stretched on for five days while Host’s counsel

 served wide-ranging document subpoenas on Local 11 before each day of hearing (two of which

 the Arbitrator revoked), recalled witnesses to ask about topics that did not occur to him during

 the initial examination, and conducted unfocused and pointless examinations. Through all of

 this, he appeared to be fishing for a theory. That wasted both parties’ time and money.

 B.     Host violated the Article 2.
        The Collective Bargaining Agreement’s dues provisions make it possible for Local 11 to

 collect dues through deductions from employees’ wages. These are critically important

 provisions for Local 11 because they eliminates the time and expense that collecting dues would

 otherwise entail. Tr.(II) 235-36. Article 2.7 requires Host “to provide, assist in the completion

 of, and remit any forms necessary to perfect membership in Local 11.” Jt. Ex. 1, at 3. As

 explained above, the dues cards serve as both membership applications and dues deduction

 authorizations. When employees complete dues cards authorizing deduction, Article 2.10

 requires Host to deduct dues from employees’ paychecks. Id. This is a simple system that Host

 administers. Except in the rare case when an employee chooses not to authorize dues deduction,




                                                                                            Exhibit 2
                                                                                                2-33
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 the system places little burden on Local 11. All that Local 11 should have to do is supply Host

 with blank dues card forms and process the money it receives each month.

           In this section, we show that Host violated one or both of these obligations. Host did not

 deduct dues from employees’ wages even when employees authorized it to do so; and Host may

 not have always provided dues cards to employees or assisted employees to complete those

 cards. The evidence that Local 11 presented shifted the burden to Host to prove that it complied

 with its Article 2 dues-deduction obligations. Host did not meet that burden.

           1.      Host failed to deduct dues from the wages of employees who signed dues
                   cards.
           It is beyond dispute that, at least sometimes, Host failed to deduct dues from employees’

 wages even though the employees authorized Host to do so. Consider these examples:

           •                     and                  signed dues cards in August 2016, but
                Host only deducted their dues for September and October 2016. See Appx. A.

           •    On November 2016, Cindy Yasuda checked PeopleSoft and found no reason
                why                 ’s dues were not deducted. Un. Ex. 5.               (aka
                                        10
                                       ) signed another dues card in February 2017, but Host
                did not start deducting his dues until April 2017. See Appx. B.

           •                         signed a dues card in July 2016, but Host did not start
                deducting her dues until April 2017. See Appx. B.

           •                signed a dues card in May 2016, but Host never deducted her
                dues. See Appx. B.

           •                  signed a dues card in January 2017, but Host did not start
                deducting her dues until April 2017. See Appx. B.

           •                              signed a dues card in May 2016 but Host did not
                start deducting her dues until April 2017. See Appx. B.



 10
      We know this is the same person because the social security number is the same.


                                                                                               Exhibit 2
                                                                                                   2-34
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         •                   signed a dues card in December 2017, but Host did not start
             deducting her dues until February 2018. See Appx. B.

         •                        signed a dues card in March 2017, but Host never
             deducted his dues. See Appx. B.

         •   In March 2018, Angelina Preston admitted that she had no explanation for
             why              ’s dues were not deducted. Un. Ex. 18.

         •   Host deducted September and October 2016 dues from 95 of the former CMS
             employees, but then failed to continue deducting dues from those employees’
             wages in later months.
 There are likely many more instances, but it is impossible for Local 11 to identify them all.

         Local 11 cannot do so because Local 11 does not have all the dues cards. Host agreed to

 give Local 11 copies of all dues authorization cards, Jt. Ex. 5, at ¶ 3(b); see also Un. Ex. 23 (¶

 1(e)); but Host produced only 552 legible dues cards. Un. Ex. 27 (amended); Tr.(V) 68-73.

 There is another reason to believe that Host has not produced all the dues cards that it has. Host

 deducted dues from some of the former CMS employees even though it did not produce a legible

 dues card for those employees. See, e.g., Appendix A (



                                                                   ); Appendix B (

                                                           ). We assume that Host has dues cards

 for those employees because Host’s policy and computer system prohibit dues deduction without

 authorization. 11




 11
    We accept at face value Host’s representation that it does not deduct dues from employees’
 wages unless the employee has authorized Host on a dues card, as it would be unlawful for Host
 to deduct money from wages without an authorization. Jt. Ex. 6 (¶ 4).



                                                                                             Exhibit 2
                                                                                                 2-35
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         It is unsurprising that Host failed to deduct dues even after employees authorized

 deductions. Host’s computer system (PeopleSoft) deducts dues automatically if a dues card

 authorization is entered. Entering the dues cards into PeopleSoft was the responsibility of Host’s

 Human Resources staff, but Host failed to staff that department adequately. At the same time

 that Host was running condensed orientations for approximately 250 to 300 former CMS

 employees, Host also was hiring for its busy summer season. Tr.(V) 7, 45-46. The Human

 Resources Manager at LAX turned over constantly, leaving the position unfulfilled at the time.

 Between August 2016 (when Host acquired CMS) and December 2017, Host employed three

 people in the position of LAX Human Resources Manager: Ava White (until September 2016),

 Faith Baaadamoko (November 2016 to September 2017) and Natalie Ramirez (October or

 November 2017 to December 2017). In addition, Cindy Yasuda, Jeff Pantel and Angelina

 Preston did the Human Resources Manager’s work when the position was vacant. Tr.(II) 127-

 29, 142, 150-51; Tr.(V) 60-61. This understaffing caused problems. Host’s Senior Director of

 Labor Relations admitted as much. Asked about Human Resources Manager Faith

 Baaadamako’s performance, he responded:

         Faith had only been there, I don’t know, less than a year at that point, was trying
         to figure it all out. It’s a very busy, dynamic, large branch, lots of turnover. She
         was doing the best she could and was put into a difficult situation. So I don’t
         have any issues with her. She was doing the absolute best job she could. But,
         again, she was relatively new and was trying to figure out a mess.
 Tr.(III) 68.

         2.     Host failed to present dues cards to employees and assist employees to
                complete the cards.


         In Article 2.7 of the Collective Bargaining Agreement, Host agreed “to provide, assist in

 the completion of, and remit any forms necessary to perfect membership in Local 11.” Jt. Ex. 1,




                                                                                                Exhibit 2
                                                                                                    2-36
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at 3. Host has historically complied with this promise by distributing dues cards at new

employee orientation and explaining to employees how to complete the cards. Tr.(V) 24-25.

       Host might not have presented cards to the CMS employees to sign. For example, former

CMS employee Elvia Cristina Martinez Hernandez went to orientation before the CMS

acquisition and signed whatever papers were given to her. She also completed new hire

paperwork a second time when she returned from leave in November 2016. As a union leader,

Martinez Hernandez would have signed a dues card if it was presented to her, but Host did not

deduct dues from Martinez Hernandez’s wages. In February 2017, Human Resources Manager

Faith Baaadamako told Martinez Hernandez that Host did not have a dues card for her. Tr.(II)

187-93. We don’t know whether Host distributed dues cards at the orientation sessions for the

former CMS employees or at other time. In October 2017, Angelina Preston promised to deduct

dues arrears from the former CMS employees, Un. Ex. 14; suggesting that Host had dues cards

signed by those employees. But in February 2017, Faith Baaadamako told Carolina Simmons

that she did not have any dues cards for the former CMS employees. Un. Ex. 6. Preston, who

was Host’s witness about the orientations it held for the former CMS employees, did not know

whether dues cards were distributed in those orientation sessions or any other time. Tr.(II) 140-

42.

       What we do know is that it would be unusual if large numbers of the former CMS

employees had declined to sign dues cards. Employees are not required to authorize dues

deduction, but the overwhelming majority do so even without Local 11’s representatives

speaking to employees at orientation sessions. 12 Tr.(I) 168; Tr.(II) 95-96, 112-13, 119-20; Jt. Ex.



12
 Host faults Local 11 for not attending the orientation sessions, as the Collective Bargaining
Agreement permits. This is not an argument that helps Host’s case. It does the opposite. The



                                                                                           Exhibit 2
                                                                                               2-37
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6, at ¶ 1. Tr.(I) 82; Tr.(II) 146-48. Host’s Senior Director of Labor Relations knows of just three

Host employees anywhere in the country who chose not to authorize dues deduction, and they

were in Charlotte, Phoenix and Boston. Tr.(III) 57-58. No one from Host has ever told Local 11

that more than a few employees did not want to sign dues cards. Tr.(I) 82; Tr. (II) 146-47. This

is to be expected. Dues payment is a condition of employment, and payment through automatic

deduction is far more convenient than bringing cash to the union office or sending a check each

month. Tr.(II) 235-36.

       When Host complies with its obligations under Article 2.7, Local 11 receives dues

through wage deductions from most or all employees. It is reasonable to infer that Host did not

present the dues cards to the former CMS employees.

       3.      Host has the burden of proving that it complied with Articles 2.7 and 2.10.
       Burden-shifting aids the search for truth and prevents the party with the best access to

relevant evidence from benefiting by not presenting that evidence:

       [I]t is well-known that arbitrations are not subject to legal rules of evidence and
       that, even if they were, the burden of proof is not necessarily on the Union in non-
       disciplinary cases. In many instances the only party to an arbitration who is in
       position, having supervisory control as well as control of records and other data,
       to present detailed and relevant evidence, is the Company. In such instances it
       behooves Company, once Union has made a prima facie case, to come forward
       with evidence rebutting Union’s claim.

Mueller Co., 51 LA 428, 434 (Whyte, 1968); see also Chicago Transit Authority, 135 LA 1579,

1591 (Wolff, 2015) (presuming that grievant misused leave and shifting the burden to the union

to rebut that presumption); Coreslab Structures (L.A.), Inc., 115 LA 997, 1000 (Gentile, 2001)

(applying the doctrine of res ipsa loquitor to infer negligence and shift the burden of proof to the


Agreement requires Host to “advise Local 11 of the time and date” that orientation sessions will
be held, Jt. Ex. 1, at 4 (Art. 2.17); but Host has failed to do so. Tr.(I) 168; Tr.(II) 102, 119-20.



                                                                                            Exhibit 2
                                                                                                2-38
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union). Drawing an adverse inference from a party’s failure to present evidence is another tool

that arbitrators use to find the truth. Kenneth May, ed., Elkouri & Elkouri: How Arbitration

Works, at 8-51 (8th ed. 2016) (“The failure of a party to call as a witness a person who is

available to it and who should be in a position to contribute informed testimony may permit the

arbitrator to infer that had the witness been called, the testimony adduced would have been

adverse to the position of that party.”); Marvin F. Hill and Anthony V. Sinicropi, Evidence in

Arbitration 102 (BNA 1994) (“Arbitrators have declared that an adverse inference may be drawn

from a party’s failure to call a potential witness.”)

        The evidence described in the preceding two subsections create an inference that Host

failed to comply with its dues-deduction obligations. Host is in the best position to explain why

dues were not deducted. Local 11 is not. Accordingly, the burden should shift to Host to show

that it was not at fault.

        It would have been easy for Host to determine what went wrong. Carolina Simmons first

asked about dues deductions from the former CMS employees’ wages in October 2016, which

was just a few months after Host hired those employees and held orientation sessions for them.

Un. Ex. 14. At that time, Host could have checked its computer system to determine if dues

deduction forms had been entered for those employees and if not, asked the Human Resources

staff whether they presented the employees with dues cards and assisted in completion of those

cards. If Host’s staff failed to do so, Host could have then held a meeting for those employees to

present the dues cards. If Host’s staff responded that they had presented the cards, Host could

have followed up by asking whether employees chose to complete dues cards and if so, what was

done with the completed dues cards. Host’s practice is to store a paper copy of each dues card in

employees’ personnel files and also enter the dues-deduction authorization into its computer




                                                                                          Exhibit 2
                                                                                              2-39
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system (PeopleSoft). Host could have generated a list of all employees for whom PeopleSoft

reflected that dues deduction had not been authorized. Host then could have checked the

personnel files for hard copies and if it did not find the cards in those locations, asked

responsible Human Resources staff why not. Host failed to take any of these simple steps or call

as witnesses any of the Human Resources staff who ran the orientations or were responsible for

processing the dues cards after those orientiatons.

C.     Host’s long list of defenses amount to nothing.
       1.      Article 2.12 does not require Local 11 to seek the back dues from employees
               instead of Host.
       Host relies on the sentence in Article 2.12 that reads, “This provision does not affect the

obligations of the employees under this Article.” Jt. Ex. 1, at 3. Host says that this sentence,

together with the “union security” 13 obligation in Article 2.2 to 2.4, means that employees are

always responsible for unpaid dues even if Host failed to give them dues cards and assist with

completing the cards (in violation of Article 2.7) or if Host failed to deduct dues from their

wages even though employees signed a dues cards (in violation of Article 2.10). Host is reading

more into the sentence than is there.

       The sentence in Article 2.12 to which Host attaches its argument suggests that Local 11

or Host could have attempted to extract the back dues from employees. The “obligations of the

employees under this Article” does refer to employees’ obligation to become members of Local



13
  Section 8(a)(3) of the National Labor Relations Act permits a union and an employer to agree
that being a union member is a condition of employment. 29 U.S.C. § 158(a)(3). Local 11 and
Host made such an agreement. Jt. Ex. 1, at 2 (Arts. 2.2 & 2.3). An employee becomes a member
of Local 11 by paying the initiation fees and dues that Local 11 requires. Jt. Ex. 1, at 2 (Art.
2.4); see also Un. Ex. 3 (required dues and initiation fees). “Union security” is labor law’s term
for this type of agreement, but the Collective Bargaining Agreement uses the term more broadly.
Article 2 and Article 2, Subsection A are both titled “Union Security”, but the remaining
subsections of Article 2 address other topics.


                                                                                             Exhibit 2
                                                                                                 2-40
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11. When employees don’t become members by paying dues, they haven’t satisfied a condition

of employment. But terminating those employees would not have remedied the problem that

Local 11 raised in this grievance: the loss of dues income caused by Host’s failure to deduct such

dues. Article 2.12 also states that if Host “fails to collect or pay over such dues pursuant to this

Article, Host shall be liable for regular dues and initiation fees which Local 11 loses by reason of

Host’s failure.” Jt. Ex. 1, at 3. In other words, Article 2.12 gives Local 11 two options. It can

seek to recover damages from Host through the grievance process, or it can try to compel

employees to pay the back dues that have built up by threatening those employees with discharge

if they don’t pay.

        Local 11 had good reasons for choosing not to threaten employees. It is likely that some

employees would pay and others would not, so threats would not necessarily accomplish what

Local 11 seeks. Once employees cease working for Host, Local 11 has no way to collect money

from them. Tr.(II) 239-40. It is not employees’ fault that Host failed to deduct their dues. Host

either failed to give them dues cards to sign or disregarded the dues card that they did sign. A

wealthy person might view a delay in collection as a financial boon. But Host’s employees are

not highly paid. See Jt. Ex. 1, at 6 (wage scale). Many live hand-to-mouth and don’t have large

savings accounts. They spend their paychecks when they receive them, so paying dues each

month by dues deduction is easier than paying months of arrears. Tr.(II) 238-39. Moreover, if

employees pay Local 11 the back dues that have accrued upon threat of discharge, they will

likely feel resentment toward Local 11, particularly if they authorized dues deduction. Tr.(II)

239.

        Article 2 allows Local 11 to elect its remedy. Local 11 has chosen to seek damages from

Host.




                                                                                            Exhibit 2
                                                                                                2-41
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       2.      The Union’s record-keeping is not the problem.
       In his “evolving” hearing presentation, Host’s counsel questioned the accuracy of Local

11’s record-keeping. He questioned whether Local 11 kept accurate records of the monthly

ACH bank transfers from Host, why Carolina Simmons removes some of the information

contained in the Dues Reports before uploading the relevant information to TIMMS, and why

one witness mistakenly referred to “.prn” files as “.csv” files. The Arbitrator must have been

wondering how Host’s counsel would connect all of the testimony elicited through his cross-

examinations. It amounted to nothing. It was just a fishing expedition in hopes of finding a way

to pin the blame on Local 11 for Host’s mistakes. No flaws in Local 11’s record-keeping could

ever justify Host’s failures to distribute dues cards, assist in their completion and/or deduct dues

in accordance with employees’ authorizations.

       3.      Labor law’s anti-bribery statute does not prohibit a monetary remedy to
               Local 11.
       As a remedy, Local 11 seeks an award of lost dues. In the “Remedy” Section, we

describe the requested remedy in detail and explain why it is appropriate. Before we do that, we

respond to Host’s argument against a monetary remedy. Host asserts that the Arbitrator cannot

lawfully require Host to pay money to Local 11 to compensate Local for dues that were not

deducted from employees’ wages. Host claims that such an award would violate § 302 of the

Labor Management Relations Act, 29 U.S.C. § 186. Host is wrong.

       Section 302 is an anti-bribery law. Its main provisions prohibit employers from giving to

unions, and unions from receiving from employers, things of value. 29 U.S.C. § 186(a), (b). But

the statute also creates exceptions to this general rule. One exception legitimizes the dues

deduction system to which the parties agreed in the Collective Bargaining Agreement. It allows

employers to give union money deducted from employees’ wages pursuant to written




                                                                                            Exhibit 2
                                                                                                2-42
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authorizations. 29 U.S.C. § 302(c)(4). Another exception allows arbitrators to order employers

to pay unions money damages. 29 U.S.C. § 302(c)(2). That exception permits an arbitrator to

remedy an employer’s failure to comply with a dues deduction agreement by ordering the

employer to pay the union money the union lost as a result of the employer’s breach.

Washington Post v. Washington-Baltimore Newspaper Guild, 787 F.2d 604, 606-07 (D.C. Cir.

1986) (rejecting employer’s argument that the award violated § 302); Steelworkers v. United

States Gypsum Co., 492 F.2d 713, 734 (5th Cir. 1971) (“Since the purpose of § 302(a) is to

protect employers from extortion and to insure honest, uninfluenced representation of

employees, and in view of the exclusion from its coverage an arbitrator’s award, we hold that §

302(a) does not render the arbitrator’s award here unenforceable. Nor can we say that the

arbitrator’s decision requiring the company to pay the award without recoupment from its

employees is not within his remedial authority.”); see also Humility of Mary Health Partners v.

Teamsters Local 377, 296 F.Supp.2d 840, 846 (N.D. Ohio 2003) (§ 302(c)(2) “affords an

arbitrator with the power to issue an award requiring an employer to make monetary payments

directly to the union for prior breaches of a valid checkoff dues provision”); Monroe Lodge No.

770 v. Litton Business Systems, Inc. 334 F.Supp. 310, 316 (W.D. Va. 1971) (“In light of this

breach, the Union is entitled to reimbursement for dues which the Company failed to deduct and

remit to the Union.”)

       It makes no difference whether Host violated the Collective Bargaining Agreement by

failing to deduct dues that employees authorized or by failing to distribute dues cards to

employees and assist in their completion. In Washington Post, supra, the employer argued that §

302’s exceptions permit an award of money damages only when the employer fails to comply

with dues deduction authorizations but not when employees have not given such authorization.




                                                                                             Exhibit 2
                                                                                                 2-43
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The Court of Appeals rejected this argument, explaining that “[i]f any one of [§302(c)’s]

exceptions applies, the general prohibition of § 302 does not operate.” 787 F.2d at 606. The

Court also reject that the award was inconsistent with § 302’s purpose: “The Post will pay this

money on the order of the arbitrator, after vigorous and genuine litigation. No reasonable view

of these facts suggests any improper influence.” Id. at 607. That is also true here.

       4.      Host does not have a timeliness defense.
       Host says that Local 11 did not timely file this grievance. Tr.(I) 8-9. There are four

problems with this argument.

       First, Article 2 establishes a specific rule relating to dues deduction violations. It says

that “[t]he Employer is not liable for any mistakes related to this Article which are not brought to

its attention in writing within three years.” Jt. Ex. 1, at 3 (Art. 2.10). The implication of this

sentence is that Host is liable for mistakes that Local 11 brings to its attention within three years.

Elkouri & Elkouri: How Arbitration Works, at 9-41 (“Unless a contrary intention appears from

the contract interpreted as a whole, or from the relevant extrinsic circumstances, more specific

provisions should restrict the meaning of a general provision.”)

       Second, the CBA does not establish any timeline for Local 11 to file grievances about

contract interpretation. Article 10.2 sets a time limit for grievances that begin at “Step One”,

which is “fifteen days of the occurrence or of the time the Grievant should have reasonably had

knowledge of the occurrence which gave rise to the grievance.” Jt. Ex. 1, at 17. But this

grievance did not begin at Step One because it is a contract interpretation grievance. See Jt. Ex.

1, at 17 (Article 10.2, “All . . . disputes of contract language shall begin at Step Two.”). The

deadline to move a grievance to Step Two is “within ten days of the Step One meeting.” But

since there was not a Step One meeting, that time will never begin to run.




                                                                                             Exhibit 2
                                                                                                 2-44
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          Third, even if the Step One timeline (fifteen working days) 14 applied, that time limit only

began to run at the time Local 11 “should have reasonably had knowledge of the occurrence

which gave rise to the grievance.” Carolina Simmons notified Host’s Human Resources staff of

the problem promptly, and Host’s staff repeatedly promised to resolve it. See, e.g., Un. Exs. 5, 6,

8(a), 14. Local 11 was justified in relying on their promises. Local 11 waited to file the

grievance until it knew that Host’s managers were making empty promises.

          Fouth, Host waived this argument by not raising it during the prior steps of the grievance

process. Tr.(I) 209-10. “[I]f an arbitrator is able to hold that the parties have waived time limits

set forth in the collective bargaining agreement, the arbitrator will do so, as the arbitral

preference is to resolve disputes on the merits rather than dismiss on procedural grounds.” Ray

J. Schoonhoven, Ed., Fairweather’s Practice & Procedure in Labor Arbitration, at 125 (4th ed.

1999); see also Elkouri & Elkouri: How Arbitration Works, at 5-10 (“A general presumption

exists that favors arbitration over dismissal of grievances on technical grounds.”). Arbitrators

routinely deny timeliness defenses if the party asserting the defense did not raise it in prior steps

of the grievance process. See, e.g., Trinity Industries, Inc., 109 LA 86, 95 (1997) (stating that the

“right to request enforcement of time limits may be waived by . . . failing to raise the timeliness

issue until the arbitration hearing”); Moon Fabricating Corp., 95-1 ARB ¶ 5080 (Ferree, 1994)

(objection to timeliness waived when not mentioned in the preliminary steps); James River

Corp., Consumer Prods., 94-2 ARB ¶ 4529 (Overstreet, 1994) (a party can waive right to assert

timeliness defense by not raising the objection at every step of the proceeding); Union Eye Care

Center, Inc., 100 LA 703, 704 (Shanker, 1993) (“failure to promptly object to timeliness, and . . .




14
     “Days” does not include Saturdays, Sundays or holidays. Jt. Ex. 1, at 17 (Sec. 10.4).




                                                                                               Exhibit 2
                                                                                                   2-45
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 going forward with the grievance procedures amounts to a waiver of the procedural time

 requirements”). This waiver rule deters sandbagging and applies squarely to this case.

        5.      Local 11 was not required to file hundreds of separate grievances.
        Host’s counsel also asserted that Local 11’s grievance must be dismissed because Local

 11 filed one grievance about Host’s failure to deduct dues instead of filing hundreds of

 grievances. Tr.(I) 8. This argument is silly. “It is widely accepted that a union has standing to

 file a group grievance that affects a significant portion of the bargaining unit.” Elkouri &

 Elkouri: How Arbitration Works, at 5-20. Nothing in the Collective Bargaining Agreement

 suggests that Local 11 must file multiple grievances about an ongoing or widespread problem,

 and doing so would not make sense. The whole point of having a grievance process in collective

 bargaining agreements is to resolve disputes efficiently. The rule that Host’s counsel advocates

 would remove any efficiency from the process. In any event, Host waived this argument also by

 not raising it during the grievance process. Tr.(II) 210.

        6.      Local 11 did not abandon this grievance in bargaining.
        Host seems to think that Local 11 should have resolved the issues in this case in

 collective bargaining. That does not make sense. The Collective Bargaining Agreement

 between Host and Local 11 runs from October 1, 2015 to September 30, 2018. Jt. Ex. 1, at 28.

 This dispute did not arise until 2016.

        Host claims that the collective bargaining agreement between CMS and Local 11 (Joint

 Exhibit 4) continued to apply to the former CMS employees, even after Host hired them. That

 also makes no sense. Host did not make an agreement with either Local 11 or CMS to assume




                                                                                            Exhibit 2
                                                                                                2-46
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CMS’s rights and obligations under that agreement. 15 Moreover, the Collective Bargaining

Agreement between Local 11 and Host covered the employees in the former CMS outlets as

soon as Host employed them because that Agreement covers all Host employees working at

LAX in the listed classifications. Jt. Ex. 1, at 1 (Art. 1.1).

                                               Remedy
        Article 2.12 of the Collective Bargaining Agreement contemplates a monetary remedy:

“If an Employer has agreed to the deduction of dues pursuant to this Article and fails to collect or

pay over such dues pursuant to this Article, Host shall be liable for regular dues and initiation

fees which Local 11 loses by reason of Host’s failure.” Jt. Ex. 1, at 3. Thus, as a remedy, Host

should be required to pay Local 11 the dues Local 11 has not received as a result of either (a)

Host’s failure to distribute and assist employees in the completion of dues cards; or (b) Host’s

failure to deduct dues in accordance with employees’ authorizations. Host should also be

required to pay Local 11 pre-award and post-award interest at the federal rate on this money.

Local 11 requests that the award specify that Host may not attempt to recoup any of this money

from employees.

        As discussed at the hearing, the parties do not expect the Arbitrator to identify all of the

employees for whom dues to be deducted and calculate the amount owed. For this reason, they

agreed that the Arbitrator would retain jurisdiction over the implementation of any remedy.

Tr.(I) 6. What the parties do seek in the award is guidance about how to calculate the amount

due. Local 11 proposes the following instructions.




15
  The collective-bargaining agreement between CMS and Local 11 lists Host on its cover as a
signatory, but the parties agree that this was an error, and Host was not a party or a joint
employer with CMS. Tr.(II) 92-93; 135; Tr.(III) 52.


                                                                                             Exhibit 2
                                                                                                 2-47
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        1. Host shall pay Local 11 the dues and fees owed by any employee for whom Local 11

 or Host has a dues card authorizing deduction, beginning on February 1, 2016 or the dues card

 date, whichever is later, unless Host actually deducted dues or the employee had no net wages

 after taxes from which to deduct dues. To identify these employees, Host should be ordered to

 present legible copies of the dues cards that were illegible when it produced them pursuant to

 Joint Exhibit 5; and to conduct a review, with Local 11’s assistance, of the personnel files for all

 employees employed between February 1, 2016 and the present to determine if Host has any

 additional dues cards.

        2. Host shall pay Local 11 the dues and fees owed by any employee from whose October

 2016 wages Host deducted September and October 2016 dues, as reflected on Union Exhibit

 12(b), but thereafter failed to continue deducting dues, unless the employee had no net wages

 after taxes from which to deduct dues.

        3. Host shall pay Local 11 the dues and fees owed by any former CMS employee, unless

 (a) Host presents specific evidence that Host presented the employee with a dues card and the

 employee chose not to authorize dues deduction; or (b) the employee did not authorize dues

 deduction while employed at CMS (creating an inference that the employee would have declined

 to authorize dues deduction if presented a dues card); or (c) the employee had no net wages after

 taxes from which to deduct dues.

        Local 11 proposes that the remedy period run from February 1, 2016. Local 11 is

 permitted to seek back dues for up to three years before it brought an error to Host’s attention in

 writing. See Jt. Ex. 1, at 3 (Art. 2.10) (“Host is not liable for any mistakes related to this Article

 which are not brought to its attention in writing within three years.”) Local 11 is willing to limit

 the start date to February 1, 2016 (just over one year before the grievance was filed) which is the




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 time period for which the parties agreed in the prearbitration agreement to exchange information

 (Joint Exhibit 5, at ¶¶ 1, 2).

         Host’s liability should continue until Host begins deducting dues from the employee’s

 wages or the employee declines to authorize dues deduction after being presented a dues card.

 Host might claim that its liability ended in October 2017 because that is the end date in the pre-

 arbitration agreement to exchange information. The October 2017 date was used in that

 agreement because the parties made that agreement on October 2017. They could not exchange

 information about what might happen in the future. Moreover, they specifically agreed that

 “neither party waives any position it might take in arbitration, including that the relevant time

 period is different than the one stated above.” Jt. Ex. 5, at ¶ 4.

                                              Conclusion
         For all of the foregoing reasons, Local 11’s grievance should be sustained and the

 requested remedy awarded.

                                        Kristin L. Martin
                                        Kristin L. Martin
                                        McCRACKEN, STEMERMAN & HOLSBERRY, LLP
                                        595 Market Street, Suite 800
                                        San Francisco, CA 94105
                                        Telephone: 415-597-7200
                                        Fax: 415-597-7201

                                        Attorneys for UNITE HERE Local 11


 Signed and dated this 15th day of October, 2018.




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                                          Appendix B




                   Employment                                                          First Month‐Year 
                   Status as of      Dues Card    Dues Card Shown                      Dues Deducted Per 
                   October 2017 (UX  Produced by  on Jointly       Date Local 11       Dues Reports (UX 
Name               11 & 20)          Host (UX 27) Compiled Charts  Contacted Host      12)
                   Active          2/29/2017                       11/15/2016 (UX 5)   April‐17
                   Active                        7/13/2016 (UX 11) 12/9/2016 (UX 5)    April‐17
                   Term. 1/12/17                 5/31/2016 (UX 20) 12/15/2016 (UX 5)   never
                   Active          3/16/2017                       2/8/2017 (UX 6)     April‐17
                   Active          1/11/2017                       2/8/2017 (UX 6)     April‐17
                   Active                        5/19/2016 (UX 11) 2/8/2017 (UX 6)     April‐17
                   Term. 4/11/17                                   2/8/2017 (UX 6)     April‐17
                   Term. 9/11/17   3/21/2017                       2/8/2017 (UX 6)     April‐17
                   Active          12/4/2017                       6/20/2017 (UX 9)    February‐18
                   Active          3/23/2017                       8/15/2017 (UX 16)   never

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                                           McCRACKEN, STEMERMAN & HOLSBERRY, LLP
                                                            Counselors and Attorneys at Law




                                        December 26, 2018

     595 Market Street, Suite 800       Via Electronic Mail and U.S. Mail
         San Francisco, CA 94105
                     415.597.7200       Lawrence H. Stone
                 Fax 415.597.7201       Jackson Lewis P.C.
                                        725 South Figueroa Street, Suite 2500
    Steven L. Stemerman (CA, NV)
                                        Los Angeles, CA 90017
   Richard G. McCracken (CA, NV)
                                             Re: UNITE HERE Local 11 & HMS Host (Arbitration Award)
     W. David Holsberry (CA, NV)
                 John J. Davis (CA)
         Florence E. Culp (CA, NV)      Dear Larry:
      Kristin L. Martin (CA, NV, HI)
            Eric B. Myers (CA, NV)             Happy Holidays. We received the enclosed award for Arbitrator Prihar
        Paul L. More (CA, NV, MA)       on December 6, 2018. The award gives Host 45 days, or until January 20, 2019
         Sarah Varela (CA, AZ, NV)      to make payment to Local 11. Please let me know how the funds will be
Sarah Grossman-Swenson (CA, NV)         transmitted.
              Yuval Miller (CA, NV)
          David L. Barber (CA, NV)             Thank you.
     Kimberley C. Weber (CA, NV)
              A. Mirella Nieto (CA)                                            Sincerely,
      F. Benjamin Kowalczyk (CA)




    Robert P. Cowell (1931-1980)
                                                                               Kristin L. Martin

                                        CC: Martin Lopez
      Philip Paul Bowe (CA) (Ret.)
        Barry S. Jellison (CA) (Ret.)




 1630 Commerce Street, Suite A-1
             Las Vegas, NV 89102
                     702.386.5107
                 Fax 702.386.9848




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                                             McCRACKEN, STEMERMAN & HOLSBERRY, LLP
                                                               Counselors and Attorneys at Law




                                                                                           January 18, 2019

      595 Market Street, Suite 800       Via Electronic Mail
          San Francisco, CA 94105
                      415.597.7200       Guy Z Prihar APC
                  Fax 415.597.7201
                                         P.O. Box 642572
                                         Los Angeles, CA 90064
     Steven L. Stemerman (CA, NV)
                                               Re: HMS Host at LAX & UNITE HERE Local 11
    Richard G. McCracken (CA, NV)
      W. David Holsberry (CA, NV)        Dear Arbitrator Prihar:
                  John J. Davis (CA)
          Florence E. Culp (CA, NV)            This letter concerns compliance with your award dated December 6, 2019.
       Kristin L. Martin (CA, NV, HI)    The award requires the Employer to comply with it within 45 days from
             Eric B. Myers (CA, NV)
                                         issuance of the award, which is January 20, 2019. On December 26, 2018, my
         Paul L. More (CA, NV, MA)
          Sarah Varela (CA, AZ, NV)
                                         assistant sent a letter from me to opposing counsel by email and by U.S. mail, in
 Sarah Grossman-Swenson (CA, NV)         which I asked about plans for compliance. To date I have not received a
               Yuval Miller (CA, NV)     response.
           David L. Barber (CA, NV)
      Kimberley C. Weber (CA, NV)
                                               You have retained jurisdiction over interpretation, administration and
               A. Mirella Nieto (CA)     implementation of the remedy, and stated that either party may invoke your
       F. Benjamin Kowalczyk (CA)        jurisdiction by written request for sixty days after issuance of the award, which
                                         is February 4, 2019. By this letter, I invoke your jurisdiction, and ask that you
                                         direct the Employer to state its intentions with respect to compliance with the
     Robert P. Cowell (1931-1980)        award.
                                               Thank you for your attention.
       Philip Paul Bowe (CA) (Ret.)
         Barry S. Jellison (CA) (Ret.)                                                     Sincerely,



                                                                                           Kristin L. Martin

                                         Cc: Larry Stone
  1630 Commerce Street, Suite A-1
              Las Vegas, NV 89102
                                             Martin Lopez
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                  Fax 702.386.9848




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